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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

United States of America,              )    Criminal No. 20-284 (ECT)
                                       )
                          Plaintiff,   )
         v.                            )    DEFENDANT'S MOTION TO SEAL
                                       )    DOCUMENT
Jennifer Lynn Boutto,                  )
                                       )
                        Defendant.     )


      Jennifer Boutto, by and through undersigned counsel, hereby moves the Court for

an Order sealing a specific document in the above-referenced matter.

      This Motion is based upon the records and proceedings in this matter.



Dated: September 9, 2021                     Respectfully submitted,

                                             s/ Shannon Elkins

                                             SHANNON ELKINS
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                                             Attorney for Ms. Boutto
                                             107 U.S. Courthouse
                                             300 South Fourth Street
                                             Minneapolis, MN 55415
